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Prob 12(10/09)
VAE (rev. 5/17)

                                  UNITED STATES DISTRICT COURT
                                                     for the
                                  EASTERN DISTRICT OF VIRGINIA

U.S.A. vs. Martin Wilson                                         Docket No. l:17-MJ-520

                                               Petition on Probation


       COMES NOW Kenneth G. Orsino. PROBATION OFFICER OF THE COURT, presenting an official
report upon the conduct and attitude of Martin Wilson, who was placed on supervision by the Honorable
Michael S. Nachmanoff, United States Magistrate Judge sitting in the Court at Alexandria. Virginia, on the^
day of Januarv. 2018. who fixed the period of supervision at one (1) vear. and imposed the general terms and
conditions heretofore adopted by the Court and also imposed special conditions and terms as follows:



                                                    See Page 2




RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS
FOLLOWS:
                                                  See Attachincnt(s)

PRAYING THAT THE COURT WILL ORDER a summons to be issued directing that the offender appear
before the Court to show cause why supervision should not be revoked.



Returnable Date:                  2^01^^ tOnaoa.^-



ORDER OF COURT                                                I declare under the penalty of perjury that the
                                                              foregoing is true and correct.
Considered and ordered this             day of^dl .
20_\3_ and ordered filed and made a part or the               Executed on:
records in the above case.                                                   Kenn«(ti G. Orsino
                                                                             2018.04.1910:43:50 ^WOO'



                                                              Kenneth 0. Orsino
                      /s/                                     U.S. Probation Officer
       Michael S. Nachmanoff
                                                              (703) 366-2109
       United States Magistrate Judge
                  Michael S. Nachmanoff                       Place Manassas. Virginia
              United States Magistrate Judge



TO CLERK'S OFFICE
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